                 Case 14-50333-gs       Doc 524     Entered 07/23/19 13:59:05         Page 1 of 1
NVB 8005 (Rev. 5/16)


                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA


 IN RE:                                                      BK−14−50333−gs
                                                             CHAPTER 7
 ANTHONY THOMAS and WENDI THOMAS

                                    Debtor(s)                Appeal Reference Number:             19−27



 ANTHONY G. THOMAS                                           NOTICE OF REFERRAL
                                    Appellant(s)             OF APPEAL TO
                                                             BANKRUPTCY APPELLATE PANEL
 vs

 JERI COPPA KNUDSON, CH. 7 TRUSTEE;
                           Appellee(s)




To:         All Parties in Appeal
            U.S. Trustee



NOTICE IS GIVEN that a Notice of Appeal has been filed by Anthony G. Thomas, in pro per with the Clerk of the
Bankruptcy Court on 7/19/19.

The above appeal has been referred to the U.S. Bankruptcy Appellate Panel of the Ninth Circuit (BAP).



Dated: 7/23/19


                                                         Mary A. Schott
                                                         Clerk of Court
